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                                                         RELEASE
                                                     IMMEDIATE RELEASE

                        DoD Probationary Workforce
                                Statement
                                                               Feb. 21, 2025


      As the Secretary announced yesterday, the Department of Defense is re-evaluating our
      probationary workforce, consistent with the President's initiative to reform the Federal
      workforce to maximize efficiency and productivity.


      This re-evaluation of probationary employees is being done across government, not just at
      the Defense Department, but we believe in the goals of the program, and our leaders are
      carrying out that review carefully and smartly.


      We anticipate reducing the Department's civilian workforce by 5-8% to produce efficiencies
      and refocus the Department on the President's priorities and restoring readiness in the
      force.


      We expect approximately 5,400 probationary workers will be released beginning next week
      as part of this initial effort, after which we will implement a hiring freeze while we conduct a
      further analysis of our personnel needs, complying as always with all applicable laws.


      As the Secretary made clear, it is simply not in the public interest to retain individuals whose
      contributions are not mission-critical. Taxpayers deserve to have us take a thorough look at
      our workforce top-to-bottom to see where we can eliminate redundancies.




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      As we take these important steps to reshape the workforce to meet the President's
      priorities, the Department will treat our workers with dignity and respect as it always does.
      Those who commit themselves to defending our nation deserve nothing less.


      - Darin Selnick, Performing the Duties of Under Secretary of Defense for Personnel and
      Readiness



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